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                       EXHIBIT A
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          COMBAT ARMS MASTER SETTLEMENT AGREEMENT (“MSA I”)
                            AMENDMENT

        This Amendment (“Amendment”) to the Master Settlement Agreement dated August 29,
2023 (“MSA I”) between: (1) 3M Company (“3M”) and Aearo Technologies LLC, an acquired
subsidiary of 3M (“Aearo”) (collectively, along with 3M Occupational Safety, Aearo Holding
LLC, Aearo Intermediate LLC, Aearo LLC, and Aearo Technologies LLC, “Defendants”); and (2)
the undersigned Plaintiffs’ Leadership in In re Combat Arms Earplug Products Liability Litigation,
MDL No. 2885, U.S.D.C. for the Northern District of Florida (“MDL Court”); and (3) the
undersigned Plaintiffs’ Leadership in the Minnesota coordinated state court action pending in the
4th Judicial District, County of Hennepin, Minnesota, File No. 27-CV-19916 (“MN Court”),
collectively, the “Negotiating Plaintiffs’ Counsel” (“NPC”) (Defendants and the NPC are each a
“Party,” and, together with the NPC, are the “Parties”), is entered into as of January 26, 2024.

       WHEREAS, MSA I included $1 billion of equity payments. MSA § 11.4.

       WHEREAS, MSA I provided Defendants with the sole discretion to substitute cash for
each equity tranche payment. MSA § 11.12.

       WHEREAS, the Final Registration Date is March 25, 2024.

       WHEREAS, the Parties have conferred and now wish to modify MSA I to confirm 3M’s
irrevocable election to pay cash for all four stock tranches pursuant to the payment triggers in the
MSA including the modifications reflected herein.

        NOW, THEREFORE, in consideration of the mutual agreements and covenants set forth
below and other good and valuable consideration, receipt of which is hereby acknowledged, the
Parties hereby agree as follows:

        The Parties hereby amend the MSA to reflect that 3M has made the irrevocable election to
substitute cash for the equity tranches set forth in MSA Section 11.4.

       The Parties hereby further amend certain time periods as set out in the MSA.

       1. The Settlement Administrator shall calculate the Participation Level within five days
          of the Final Registration Date.

       2. The NPC and Defendants shall have five days from the issuance of the Participation
          Level by the Settlement Administrator (even if issued more than five days after the
          Final Registration Date) to challenge the Settlement Administrator’s calculation of the
          Participation Level.

       3. Within five days of such challenge, any Party opposing such challenge may submit a
          written response.


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       4. The Settlement Special Master shall review any such challenge and issue a
          determination within five days of such a response.

        Upon satisfaction of the 98% Participation Level, the Parties hereby further amend
certain time periods set forth in the MSA as follows. For the avoidance of doubt, the payment
schedule below fully substitutes and replaces the obligation set forth in MSA I for Defendants to
pay $1 billion of equity payments upon satisfaction of the 98% Participation Level as set forth in
the MSA Section 11.4.
       1. On April 15, 2024, or five days after a determination by the Settlement Special
          Master that the 98% Participation Level was satisfied, whichever is later, Defendants
          will pay $350 million cash.

       2. On July 15, 2024, Defendants will pay $100 million cash.

       3. On October 15, 2024, Defendants will pay $25 million cash.

       4. On January 15, 2025, Defendants will pay $375 million cash.

       5. On January 15, 2026, Defendants will pay $75 million cash.

       6. On April 15, 2026, Defendants will pay $75 million cash.
       MSA I is otherwise unaffected and remains in full force and effect.




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       IN WII'NESS WIJEREOI". the Partics havc exeeuted this Amcndnrent as of Januar}' 25'
2021



                                             Bv

                                             'Ihomas J. Penelli
                                             Counsel for Del'endants

                                             Negotiating P             Counscl


                                             B)':

                                             Bryan
                                             Counsel lbr Plaintiffs


                                             Br,:

                                             Chris Seegcr
                                             Counsel tbr Plaintill.s


                                             By'

                                             Ctayton A. Clark
                                             Counsel fbr Plaintiffs


                                             B1'

                                             Daniel Gustal'son
                                             Counsel lbr Plaintills
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        IN WITNESS WHEREOF, the Parties
                                          have executed this Amendment as
2024.                                                                        of January 25,



                                           By:

                                           Thomas J. Perrelli
                                           Counsel for Defendants

                                           Negotiating Plaintiffs, Counsel


                                          By:

                                          Bryan F. Aylstock
                                          Counsel fbr Plaintiffs


                                          By'

                                          Chris Seeger
                                          Counsel for Plaintiffs




                                      Clayton A. Clark
                                      Counsel for Plaintiffs


                                      By:

                                      Daniel Gustafson
                                      Counsel for Plaintiffs
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          IN WITNESS   WHEREOF,   the Parties   have executed         this Amendment        as of January   25,
2024.




                                                 B7:

                                                 Thomas      J. Perrelli
                                                 Counsel     for Defendants                                       I




                                                 Negotiating        Plaintiffs'   Counsel




                                                 B7:

                                                 Bryan     F. Aylstock
                                                                                                                  I
                                                 Counsel     for Plaintiffs




                                                 B7:

                                                 Chris     Seeger
                                                 Counsel     for Plaintiffs



                                                 By:


                                                 Clayton     A. Clark
                                                 Counsel       for Plaintiffs



                                                 B7:

                                                 Daniel     Gustafson
                                                 Counsel       for Plaintiffs




                                                                                                                  i'




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